             Case: 1:12-cv-06466 Document #: 369 Filed: 06/21/13 Page 1 of 1 PageID #:3821
AO 450 (Rev. 01/09) Judgment in a Civil Action

                                                 UNITED STATES DISTRICT COURT
                                                                for the
                                                   Northern District of Illinois
                         Scott Wallis                               )
                             Plaintiff                              )
                            v.                                      )      Civil Action No.                12 C 6466
                    Alan Levine, et al.                             )
                            Defendant                               )

                                                   JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

     the plaintiff (name)                                                                                       recover from the

defendant (name)                                                                                                the amount of
                                                                          dollars ($                ), which includes prejudgment
interest at the rate of                  %, plus postjudgment interest at the rate of             %, along with costs.

     the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                    recover costs from the plaintiff (name)

X other:
               Case dismissed with prejudice. Judgment entered in favor of all defendants.




This action was (check one):

    tried by a jury with Judge                                                                      presiding, and the jury has
rendered a verdict.
   tried by Judge                                                                         without a jury and the above decision
was reached.

X decided by Judge                                        Edmond E. Chang                      on a motion to            Dismiss




Date:              Jun 21, 2013                                           Thomas G. Bruton, Clerk of Court

                                                                          /s/ Sandra Brooks
